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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA

ROQUE “ROCKY” DE LA FUENTE                      :
GUERRA,                                         :
                                                :     CIVIL ACTION
Plaintiff,                                      :
                                                : No. 4:16-cv-751-MW/CAS
      v.                                        :
                                                :
DR. BRENDA C. SNIPES, both in her official :
capacity as the Broward County Supervisor       :
of Elections and in her personal capacity; and, :
KEN DETZNER, in his official capacity as the :
Florida Secretary of State                      :
                                                :     Filed Electronically
Defendants.                                     :

       PLAINTIFF’S CONSOLIDATED BRIEF IN OPPOSITION TO
               DEFENDANTS’ MOTIONS TO DISMISS

      Plaintiff’s action to serve the Complaint in this Action on all defendant’s

before this Court issued an adjudication of plaintiff’s timely response filed on

March 17, 2017, to this Court’s Order to Show Cause issued on March 1, 2017

militates in favor of this Court denying defendants’ motions to dismiss the

Complaint filed in this action for the sole reason that service was not accomplished

within the new 90 day period amending the old 120 day time period under Rule

4(m) of the Federal Rules of Civil Procedure. Furthermore, defendants have

offered no evidence that they suffered any prejudice as a result of the service of the

Complaint on defendant Detzner on March 14, 2017 and defendant Snipes on


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March 21, 2017, 8 and 15 days late respectively under the 90 day service period

established under Rule 4(m).

                                      FACTS

       Plaintiff filed the instant Complaint on December 6, 2016. Plaintiff

concedes that timely service of the Complaint under amended Rule 4(m) was not

effected within the 90 day period which lapsed on March 6, 2017. Service of the

Complaint was effected only 8 days late on defendants Detzner and 15 days late on

defendant Snipes. On March 1, 2017 this Court issued an Order to Show Cause on

plaintiff requiring a response on or before March 17, 2017. Plaintiff timely filed a

response to this Court’s Order to Show Cause on March 17, 2017. Plaintiff

effected service on all defendants in this case before this Court had an opportunity

to determine if the delay in service was for “good cause” requiring an extention of

time to serve the Complaint on defendants and, if not, whether the Court would

nevertheless extend the period of time to serve defendants by setting a new

deadline.

                                   ARGUMENT

I.     Plaintiff Has Shown “Good Cause” for the Delay In Service of the
       Complaint.

       Interpreting a Federal Rule of Civil Procedure is no different from

interpreting a statute. Thus, “the starting point…is the language of the [Rule]

itself.” Consumer Prod. Safety Comm’n v. GTE Sylvania, Inc., 447 U.S. 102, 108
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(1980) And, in this respect, it is fundamental that “unless otherwise defined,

words will be interpreted as taking their ordinary, contemporary, common

meaning.” Perrin v. United States, 444 U.S. 37, 42 (1979). But at the same time,

proper interpretation proceeds “with reference to the…context, ‘structure, history

and purpose’” of the Rule, “not to mention common sense.” Abramski v. United

States, 573 U.S. ____, 134 S.Ct. 2259, 2267 (2014).

      Plaintiff agrees that Rule 4(m) makes it unambiguously clear, that if the

plaintiff can show good cause for the failure to serve process within 90 days, then

the time for service of process “must” be extended. Defendants’ dispute that good

cause exists and then makes the incorrect leap that absent “good cause” the

Complaint must be dismiss – wholly ignoring the second part of the Rule which

permits the Court to extend the time to effect service even in the absence of “good

cause.”

      Good cause is a legal term of art. See Webster’s Third International

Dictionary 978 (1993) (“A cause or reason sufficient in law”) (emphasis added).

Generally, legal terms of art are given their established meaning in the legal

context. See e.g., McDermott Int’l, Inc. v. Wilander, 498 U.S. 337, 342 (1991).

Thus, “good cause” as used in Rule 4(m) refers to legally sufficient ground or

reason based on all relevant circumstances. See Madden v. Texas, 498 U.S. 1301,

1305 (1991) (good cause is a “case-by-case” determination with many relevant


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factors) (Scalia, J., in chambers); Webster’s Third New International Dictionary

978 (1993) (“one that is based on equity or justice or that would motivate a

reasonable man under all the circumstances); Black’s Law Dictionary 623 (5th ed.

1979) (good cause “depends upon [the] circumstances of [an] individual case”).

      Defendants argue that the case must be dismissed because attorney

negligence in serving process is not good cause. In other words, defendants seize

upon a single fact of this case and argue that this single fact alone is dispositive.

However, attorney Steinberg reasonable held off on serving the Complaint in this

case until he was given instructions by plaintiff that, even though the 2016 election

had concluded, that the issues were of sufficient import that the plaintiff intended

to dedicate the significant economic resources necessary to adjudicate the very

important issues raised in plaintiff’s Complaint – that the chief election official in

Broward County, in a tight presidential contest, is accused by an impartial third

party, through sworn affidavit, to have been caught instructing or permitting her

staff to fill in blank absentee ballots, in a locked and guarded interior room of the

Broward County Board of Elections prior to the 2016 general election. Attorney

Steinberg’s conduct sought conserve economic and judicial resources until he was

certain that plaintiff intended to see the action through to completion.

      Defendants' argument must fail as it is wholly inconsistent with the meaning

of “good cause,” which necessarily requires courts to consider all relevant facts


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and circumstances. Indeed, courts have identified multiple factors that must be

considered – not all of which will be present in every case – to determine whether

good cause exists. Among the many factors bearing on the good cause inquiry are;

(i) the possibility of prejudice to the defendant; (ii) the length of the delay and its

impact on the proceedings; (iii) the reason(s) for the delay and whether the delay

was within the plaintiff’s control; (iv) whether the plaintiff sought an extension

before the deadline; (v) the plaintiff’s good faith; (vi) the plaintiff’s pro se status;

(vii) any prejudice to the plaintiff; (viii) and whether time has previously been

extended. See, e.g., Kurka v. Iowa Cnty, Iowa, 628 F.3d 953, 959 (8th Cir. 2010);

Newby v. Enron Corp., 284 F. App’x 146, 149-51 (5th Cir. 2008); Carter v.

Keystone, 278 F. App’x 141, 142 (3rd Cir. 2008); Melton v. Wiley, 262 F. App’x

921, 924 (11th Cir. 2008); 4B Wright & Miller, Federal Practice & Procedure: Civil

§ 1137 at 349 n.24 (2015) (collecting cases elaborating relevant factors).

      These factors, applied to the instant case, point persuasively to the existence

of good cause to allow service of process eight and fifteen days late. Defendants

have offered no evidence that they will be prejudiced by allowing this case to

proceed; for example, the delay has not been so significant that defendants cannot

now mount an effective defense (if one ever existed). Indeed, the delay in serving

process was relatively short – a mere eight and fifteen days late for defendant

Detzner and Snipes, respectively, which is far below the 120-day period to serve


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process that the Federal Rules of Civil Procedure formerly embraced as reasonable.

Although the delay is ultimately traceable to a lack of communication between

plaintiff and his legal counsel, it is clear that plaintiff’s counsel acted in good faith

in not wanting to serve process until he was assured that the plaintiff remained

dedicated to fully litigating the issues, causes of action and remedy sought and

advanced in the Complaint. In short, through the fog of miscommunication,

plaintiff’s counsel did not want to waste either the economic or judicial resources

of this Court, the defendants and opposing counsel. At bottom, the delay was

motivated as a potential cost-measure for all parties to this case – including the

defendants and their legal counsel. Plaintiff’s legal counsel’s abundance of caution

simply extended beyond the new 90 day period established by the amended Rule

4(m). Additionally, the delay was not extended beyond a prior extension – service

was only delayed beyond the initial time period established by Rule 4(m), it did not

violate an extended date certain set by the Court. Furthermore, the delay in

service, short as it was, has had no impact on the proceedings.

      Accordingly, on balance, the relevant facts and circumstances of this case

point toward finding good cause to retroactively extend plaintiff’s time to serve

process pursuant to Rule 4(m) to March 22, 2017 – one day after service of

defendant Snipes was accomplished.




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II.     Time for Service Should Be Extended Even If “Good Cause” is Not
        Established.

        The analysis of “good cause” is not the end of the analysis. Even if this

Court does not find plaintiff’s delay in the service of the Complaint to be the

product of “good cause” the Court must then move to consider whether an

extension of time is warranted even if plaintiff’s excuse does not rise to the level of

“good cause.” Application of Rule 4(m) in conjunction with Rule 1 of the Federal

Rules should lead this Court to deny defendants’ motions to dismiss and

retroactively extend the time for plaintiff to serve the Complaint to Match 22,

2017, one day after all defendants were served in this action.

        The language of Rule 4(m) makes clear that the presence of “good cause”

for the failure to serve the Complaint on time renders mandatory a district court’s

extension of time to serve process. Yet, the portion of Rule 4(m) permitting a

district court to “order that service be made within a specified time” is in no way

tethered to any showing of good cause for the delay. Thus, Rule 4(m)

unambiguously permits an extension of time to serve the Complaint regardless of

whether the plaintiff can show good cause for the delay. Many cases have so held

with respect to the previous 120 day time period under the old Rule 4(m). See,

e.g., Horenkamp v. Van Winkle & Co., Inc., 402 F.3d 1129, 1132 (11th Cir. 2005);

Zapata v. City of New York, 502 F.3d 192, 197 (2d Cir. 2007); Coleman v.

Milwaukee Bd. Of Sch. Dirs., 290 F.3d 932, 934 (7th Cir. 2002); In re Sheehan, 253
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F.3d 507, 513 (9th Cir. 2001); McCurdy v. American Bd. Of Plastic Surgery, 157

F.3d 191, 196 (3d. Cir. 1998); Thompson v. Brown, 91 F.3d 20, 21 (5th Cir. 1996);

Espinoza v. United States, 52 F.3d 838, 840-41 (10th Cir. 1995). The Advisory

Committee Notes to the pre-2015 amendments of Rule 4(m) expressly noted that:

“The new subdivision…authorizes the court to relieve a plaintiff of the

consequences of an application of this subdivision even if there is no good cause

shown) . Courts and commentators are virtually unanimous in the view that the

sole dissident opinion in Mendez v. Elliot, 45 F.3d 75, 78 (4th Cir. 1995), is flatly

wrong, where that court applied, without any discussion or analysis, an even older

version of Rule 4(m) – where the even older iteration of Rule 4(m) did not permit

the Court relieve an untimely service absent a showing of good cause. Indeed,

even the Fourth Circuit appears to consider Mendez to be wrongly decided in this

point. See, e.g., Hansan v. Fairfax Cnty. Sch. Bd., 405 F. App’x 793, 793-94 (4th

Cir. 2010 (stating a rule contrary to Mendez).

      Rule 1 of the Federal Rule of Civil Procedure instructs that all of the Federal

Rules “should be construed, administered, and employed by the court…to secure

the just, speedy, and inexpensive determination of every action and proceeding.”

If this Court were to grant defendants’ motions to dismiss, the only result will be

that plaintiff will refile the Complaint and serve it on defendants, with the added

requirement that the newly hired attorney newly admitted pro hac vice in this case


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will also have to refile and pay a new filing fee to enter the refiled action as the

lead attorney in the case. In other words, granted defendants’ motions to dismiss

will merely delay this case and cause added and unnecessary expense to plaintiff.

Granting defendants’ motions to dismiss, flatly stated and given the circumstances

of this case will be a violation of Rule 1 of the Federal Rules of Civil Procedure.

                                   CONCLUSION

      For all the foregoing stated reasons, this Court should deny defendants

motions to dismiss and retroactively extend the time to serve the Complaint in this

action to March 22, 2017.

                                        Respectfully submitted,



Dated: April 21, 2017                   ____/s/ Paul A. Rossi__________
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                          CERTIFICATE OF SERVICE

      I, Paul A. Rossi, attorney for plaintiff, admitted pro hac vice, hereby certify

that on April 21, 2017, I personally caused to be served on all parties in this action,

including opposing counsel of record, a true and correct copy of the foregoing

document on opposing counsel through the Court’s ECF system.


Dated: April 21, 2017                          ___/s/Paul A. Rossi, Esq_______
                                               Paul A. Rossi, Esq.




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